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CONFLICT OF INTEREST WAIVER

I, Zack Martin, do hereby waive any potential conflict of interest in my representation by
Dee Wampler and Joseph Passanise Law Offices. I am a suspect involving possible federal
charges, along with Michael Quick and Steve Quick. I realize that Michael Quick and Steve
Quick are also suspects in the alleged incident. I further understand that the previously named
individuals are also being represented by The Law Offices of Dee Wampler and Joseph
Passanise. I understand that I have the right to effective assistance of counsel in this and any
criminal matter, which includes the right to be represented by an attorney who is free of any
actual or potential conflict of interest. This specifically includes the right to be represented by an
attorney separate from the attorney of my co-defendants. J have been fully advised by attorneys
Dee Wampler and Joseph Passanise, The Law Offices of Dee Wampler, of my right to separate
counsel, as well as the possible hazards that could arise because of their dual representation of
myself and my co-defendants Understanding my right to separate counsel as well as my right to
effective assistance of counsel, I hereby waive any present or future conflict of interest and

consent to the continued representation of myself and Michael Quick and Steve Quick.

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